     Case 3:24-cv-00198 Document 33 Filed on 07/16/24 in TXSD Page 1 of 11




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION

ENERGY TRANSFER LP and its subsidiary and
employing entity LA GRANGE ACQUISITION,
L.P.,
                       Plaintiff,

      vs.

NATIONAL LABOR RELATIONS BOARD, a
federal administrative agency, JENNIFER
ABRUZZO, in her official capacity as the
General Counsel of the National Labor Relations        Civil Action No. 3:24-cv-00198
Board, LAUREN M. MCFERRAN, in her official
capacity as the Chairman of the National Labor
Relations Board, MARVIN E. KAPLAN,
GWYNNE A. WILCOX, and DAVID M.
PROUTY, in their official capacities as Board
Members of the National Labor Relations Board,
and JOHN DOE in their official capacity as an
Administrative Law Judge of the National Labor
Relations Board,
                           Defendants.

     PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY
                            INJUNCTION

       Defendants’ attempt to defend against Plaintiffs’ claims by removing the word

“consequential” from their demand and amending the underlying administrative complaint

hours before the preliminary injunction hearing is unavailing. Plaintiffs suffer a here-and-

now injury warranting immediate preliminary injunctive relief. Without this relief,

Plaintiffs will be subject to an unconstitutional NLRB proceeding in just 15 days. Severing

statutory language will be of no help to Plaintiffs’ immediate injuries.
    Case 3:24-cv-00198 Document 33 Filed on 07/16/24 in TXSD Page 2 of 11




                                      ARGUMENT

   A. Defendants Recently Argued and Lost Similar Positions They Took in Their
      Response.

       Just last week—in a nearly identical matter to this one—the Honorable Alan

Albright of the Western District of Texas granted a preliminary injunction halting NLRB

administrative proceedings pending resolution of a complaint against the NLRB. On April

19, 2024, Space Exploration Technologies Corp. (“SpaceX”) filed a Complaint in the

Western District of Texas requesting injunctive and declaratory relief against the National

Labor Relations Board (NLRB), the NLRB’s Members, NLRB General Counsel Jennifer

Abruzzo, and an unnamed Administrative Law Judge for carrying on an unconstitutional

administrative proceeding. Space Exploration Technologies Corp., v. NLRB, Case No.

6:24-cv- 00203, Docket No. 1 (W.D. Tex. Apr. 19, 2024).

       On April 25, 2024, SpaceX filed a preliminary injunction seeking a stay of the

underlying unfair labor practice administrative proceedings until the Complaint could be

resolved. Id. at Docket No. 11. Specifically, SpaceX asserted that a preliminary injunction

should be granted because it was likely to succeed on its constitutional claims that

administrative law judges and NLRB Board members are unconstitutionally insulated from

removal; it would suffer irreparable harm; and the balance of harms and public interest fall

in its favor. Id. On July 10, 2024, the parties had a hearing on SpaceX’s motion for

preliminary injunction. Id. at Docket No. 41. At the conclusion of the hearing, Judge

Albright granted SpaceX’s preliminary injunction, stating that a decision would be

forthcoming. Id. Judge Albright has yet to issue a written decision.



                                             2
    Case 3:24-cv-00198 Document 33 Filed on 07/16/24 in TXSD Page 3 of 11




   B. Removing the Word “Consequential” from the Complaint Does Not Make the
      Remedies Sought Any Less “Consequential” in Nature.

      In their Opposition, Defendants claimed Region 16 intended to amend the

underlying administrative compliant, but Region 16 did not communicate this to La Grange

at any time prior to filing the Opposition. In footnotes 4 and 11, Defendants explain, “The

Region has indicated that it plans to issue an amendment to the complaint removing the

reference to consequential damages and will only seek to make the Charging Party whole

for any direct or foreseeable pecuniary harms,” citing to Thryv, Inc., 372 NLRB No. 22

(2022). Defendants’ Opposition (“Opp.”), n. 4. Defendants again explain, “Although La

Grange notes that the ULP complaint currently includes a request for ‘consequential

damages’ resulting from La Grange’s alleged unlawful misconduct…Region 16 will be

issuing an amendment to the administrative complaint to remove that reference.” Opp., n.

11. This is the first La Grange heard of this amendment. Region 16 made zero indication

to La Grange that it intended to amend or considered amending the Complaint. Then,

yesterday, Region 16 filed an Amended Complaint deleting “and all reasonable

consequential damages” from the Original Complaint. (See Exhibit A, Amendment to

Complaint).

       Regardless, removing the word “consequential” from the administrative complaint

does not make the remedies sought any less consequential in nature. Just as the Board did

in Thryv, Inc., Defendants made an explicit attempt to distance themselves from the word

“consequential.” Thryv, Inc., 372 NLRB No. 22 at *9 (Dec. 13, 2022). It is well-established

that the Region intends to seek consequential damages. In fact, Defendant Jennifer Abruzzo



                                            3
    Case 3:24-cv-00198 Document 33 Filed on 07/16/24 in TXSD Page 4 of 11




categorized these alleged “new make-whole” remedies as “an award of consequential

damages…suffered as a direct and foreseeable result of an employer’s unfair labor

practice.” General Counsel Memorandum 21-06, Seeking Full Remedies (Sept. 8, 2021)

(emphasis added). Abruzzo specifically categorizes the “loss of a home…by an unlawfully

fired employee because of inability to keep up with loan payments,” as a “consequential

damage[] to make employees whole for economic losses.” General Counsel Memorandum

21-07, Full Remedies in Settlement Agreements (Sept. 15, 2021). In the underlying

administrative hearing, the Region made clear it is seeking damages to compensate the

Charging Party for having to sell his home. Complaint, Doc. No. 1, ¶ 16. Whether

Defendants would like to call the remedies they seek “consequential,” “direct or

foreseeable pecuniary harms,” either, or both— these remedies seek a determination of

monetary “liability of one individual to another under the law,” which is a matter “of

private right.” Stern v. Marshall, 564 U.S. 462, 489 (2011); see also Thryv, Inc., v. NLRB,

Case No. 23-60132 at *9 (5th Cir. May 24, 2024)) (referring to remedies requiring “[l]osses

incurred as a direct or foreseeable result of” the alleged unlawful action as “novel,

consequential-damages-like labor law remed[ies].”).

   C. The Court has Jurisdiction to Hear Plaintiff’s Motion

      Defendants entirely misread Axon Enterprise Inc. v. FTC, 598 U.S. 175 (2023) to

conclude this Court does not have jurisdiction to hear Plaintiffs’ preliminary injunction.

The Supreme Court in Axon held, “[t]he statutory review schemes set out in the Securities

Exchange Act and Federal Trade Commission Act do not displace a district court’s federal-

question jurisdiction over claims challenging as unconstitutional the structure of the


                                            4
     Case 3:24-cv-00198 Document 33 Filed on 07/16/24 in TXSD Page 5 of 11




existence of the SEC or the FTC.” 598 U.S. at 179. The same applies to the National Labor

Relations Act. Defendants nonsensically argue La Grange’s claims regarding deprivation

of its Seventh Amendment right to a jury trial fail the three factor test set forth in Axon.

       Under Axon, in order to exercise jurisdiction, a court must evaluate: (1) could

precluding jurisdiction in this Court “foreclose all meaningful judicial review of the claim;”

(2) whether the claim is “wholly collateral to the statute’s review provisions;” and (3)

whether the claim is “outside the agency’s expertise.” Id. at 186 (internal citations omitted).

“When the answer to all three questions is yes, we presume that Congress does not intent

to limit jurisdiction.” Id. (citing Free Enterprise Fund v. Public Co. Accounting Oversight

Bd., 561 U.S. 477, 489 (2010) (internal citations omitted). The answer to all three questions

in La Grange’s case is “yes.”

       First, failing to consider the Seventh Amendment claim now would deprive La

Grange of meaningful judicial review. Defendants conveniently ignored the Supreme

Court’s conclusion in Axon that “being subjected to unconstitutional agency authority—a

proceeding by an unaccountable ALJ” is itself a “here-and-now injury.” Id. at 192. While

“[t]hat harm may sound a bit abstract,” the Supreme Court has made clear that this injury

is one “that is impossible to remedy once the proceeding is over” making it a “here-and-

now injury.” Id. (citing Seila Law LLC v. CFPB, 591 U.S. 197, 204 (2020)). La Grange

challenges the NLRB’s entire structure, not a limited statutory challenge to the NLRB’s

remedies. The right to a jury is a fundamental right. “The right to trial by jury is of such

importance and occupies so firm a place in our history and jurisprudence that any seeming

curtailment of the right has always been and should be scrutinized with the utmost care.”


                                              5
     Case 3:24-cv-00198 Document 33 Filed on 07/16/24 in TXSD Page 6 of 11




SEC v. Jarkesy, 144 S. Ct. 2117 at *2128 (Jun. 27, 2024) (quoting Dimick v. Scheidt, 293

U.S. 474, 486 (1935). Explaining this fundamental right, the Federal Rules of Civil

Procedure read, “The right of trial by jury as declared by the Seventh Amendment to the

Constitution—or as provided by a federal statute—is preserved to the parties inviolate.”

Fed. R. Civ. P. 38(a). There is no prerequisite to the rule requiring consequential damages

granted first before the right to a jury trial attaches. The question is not whether the

damages will be ordered, the question is who should decide what damages the Charging

Party should receive. See Dimick, 293 U.S. at 486. Without a preliminary injunction, La

Grange will be subject to an unconstitutional proceeding—a fate no court can remedy.

       The Supreme Court in Jarkesy recognized this important right to a jury when dealing

with private relief. Jarkesy is clear that where remedies arise that are “legal in nature,”

those remedies are a matter of “private rather than public right,” and must be resolved in

an Article III court. Id. at 2130, 2136. “If a suit is in the nature of an action at common law,

then the matter presumptively concerns private rights, and adjudication by an Article III

court is mandatory.” Id. at 2132 (citing Stern v. Marshall, 564 U.S. 462, 484 (2011)). In

that same vein, the Supreme Court has “repeatedly explained that matters concerning

private rights may not be removed from Article III courts.” Id. In fact, “if the action

resembles a traditional legal claim, its statutory origins are not dispositive.” Id. at 2136.

       As La Grange argues infra, the damages Region 16 seeks are in fact traditional legal

relief. Mertens v. Hewitt Assocs., 508 U.S. 248, 255 (1993). Whether the consequential

damages stem from the NLRA itself is “not dispositive.” Jarkesy, 114 S. Ct. at 2136. The

loss of La Grange’s fundamental right to a jury is a “here-and-now injury” warranting


                                               6
     Case 3:24-cv-00198 Document 33 Filed on 07/16/24 in TXSD Page 7 of 11




immediate relief. Axon, 598 U.S. at 192; see also Burgess v. FDIC, 639 F.Supp.3d 732,

749 (N.D. Tex. 2022) (granting plaintiff’s motion for a preliminary injunction because

losing the right to a jury trial is considered irreparable harm); Elrod v. Burns, 427 U.S. 347,

373 (1976) (the deprivation of a constitutional right “unquestionably constitutes irreparable

injury).

       The second Axon factor asks whether La Grange’s claim is wholly collateral to the

NLRB’s proceedings. The answer here must be an unequivocal yes. La Grange is

challenging the power of the Board “to proceed at all” with the underlying administrative

hearing because it has offered no jury trial right or Article III decisionmaker. Axon, 598

U.S. at 192. Whether the Board can “proceed” is not only collateral, it is the entire issue.

       Third and finally, ordering consequential remedies is outside the agency’s expertise,

particularly considering the Supreme Court already mandated juries to decide questions of

legal relief. Id. at 2132. The Board knows “nothing special about the [Seventh

Amendment].” Id. at 194. Defendants argue “the Board’s power to fashion remedies under

Section 10(c) has long been recognized by the Supreme Court as a core area of Board

expertise.” Opp. p. 19. But we are not dealing with statutorily authorized remedies here.

We are looking to analyze consequential damages falling outside what the statue permits.

The Board has no particular expertise to assess consequential damages. Indeed, the

Supreme Court noted in Axon, “agency adjudications are generally ill suited to address

structural constitutional challenges.” Axon, 598 U.S. at 195 (quoting Carr v. Saul, 593 U.S.

83, 92 (2021)).




                                              7
     Case 3:24-cv-00198 Document 33 Filed on 07/16/24 in TXSD Page 8 of 11




   D. Severance Will Not Resolve the Threats Against La Grange and it is Entitled
      to Preliminary Injunctive Relief

       Severability will not resolve Plaintiff’s need for a preliminary injunction now.

Defendants’ argument that “severing statutory removal restrictions found unconstitutional

would remedy the alleged violations” presumes this court will eventually declare ALJs and

Board Members to be unconstitutionally insulated from removal. Opp. p. 11. While La

Grange argues for and certainly believes that will be the outcome, the Court has not yet

made that determination. Even Defendants admit that the Court has not made this “final

judgment.” Opp. p. 11. “[P]rior to final judgment there is not established declaratory

remedy comparable to a preliminary injunction; unless preliminary relief is available upon

a proper showing, plaintiffs in some situations may suffer unnecessary and substantial

irreparable harm.” Doran v. Salem Inn, Inc., 422 U.S. 922, 931 (1975); see also Wenner v.

Tex. Lottery Comm’n, 123 F.3d 321, 326 (5th Cir. 1997) (“Preliminary injunctions

commonly favor the status quo and seek to maintain things in their initial condition so far

as possible until after a full hearing permits final relief to be fashioned.”); Miss. Power &

Light Co., v. United Gas Pipe Line Co., 760 F.2d 618, 627 (5th Cir. 1985) (“The purpose

of a preliminary injunction is to prevent irreparable injury so as to preserve the court’s

ability to render a meaningful decision on the merits.”).

       This matter will not be resolved for quite some time, and in the meantime, the

underlying administrative proceeding is set for hearing in just 15 days. If La Grange is

forced to go to the hearing and present its case, it will have been subject to unconstitutional

proceedings; undergoing the proceeding is harm on its own. Axon, 598 U.S. at 191 (“being



                                              8
    Case 3:24-cv-00198 Document 33 Filed on 07/16/24 in TXSD Page 9 of 11




subjected to unconstitutional agency authority…a proceeding by an unaccountable ALJ”

is a “here-and-now injury.”) (cleaned up). La Grange requested the preliminary injunction

to pause the proceedings until the court can come to the desired conclusion—that ALJs and

Board members are unconstitutionally insulated from removal.

      Even if severability were an option at this stage—it is not—severability would not

resolve the issues presented by the “for cause” limitation. Defendants suggest that

“sever[ing] the second half of the sentence in [5 U.S.C.] ¶ 7521(a) after ‘good cause,’”

would resolve the constitutional issues plaguing La Grange rendering its Motion for

Preliminary Injunction moot. Opp. p. 11. This resolves nothing. Even without the language:

“established and determined by the Merit Systems Protection Board on the record after

opportunity for hearing before the Board,” the “good cause” language remains. ¶ 5 U.S.C.

7521(a). First, the phrase “good cause” leaves in place a barrier between ALJs and the

President’s removal power. Second, this does not resolve Board Members’ removal

protections. Without the language following “good cause,” ALJs would be removable “by

the agency in which the [ALJ] is employed,” in other words, the NLRB. Id. However, the

President may only remove Board members “upon notice and hearing, for neglect of duty

or malfeasance in office, but for no other cause.” 29 U.S.C. § 153(a). As La Grange argued

in its Motion—and Defendants ignored in their Opposition—these limitations restrict the

President’s “unrestricted removal power” guaranteed by Article II. Seila Law LLC v.

CFPB, 591 U.S. 197, 204 (2020).

      Finally, when faced with a severability argument, as the Supreme Court noted in

Free Enter. Fund v. Public Co. Accounting Oversight Bd., 561 U.S. 477, 510 (2010), that


                                            9
    Case 3:24-cv-00198 Document 33 Filed on 07/16/24 in TXSD Page 10 of 11




it could “blue pencil” the statute in a number of different ways, but “such editorial

freedom…belongs to the Legislature, not the Judiciary. Congress of course remains free to

pursue any of these options going forward.”

      The Court will not issue a final judgment for some time. The purpose of a

preliminary injunction is to maintain the status quo in the time it takes the Court to come

to a final judgment. Severance will resolve nothing in the meantime.

                                    CONCLUSION

      For the foregoing reasons, Plaintiffs respectfully request this Court enter a

preliminary injunction in its favor and stay the underlying administrative proceeding

against them.

                                         Respectfully submitted,

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                                            10
     Case 3:24-cv-00198 Document 33 Filed on 07/16/24 in TXSD Page 11 of 11




                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and exact copy of the foregoing document was

electronically filed through the court’s e-filing system on all Parties on this 16th day of July

2024.

                                            /s/Amber M. Rogers
                                            Amber M. Rogers




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